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11

12                              UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14
     On Behalf of PARKRIDGE LIMITED, a Hong         Case No. 16-cv-07387-KAW
15   Kong corporation, by Mabel Mak, and MABEL
     MAK, an individual,                            PROPOSED ORDER TO EXTEND TIME
16
                          Plaintiffs,               TO RESPOND TO DEFENDANTS’
17                                                  MOTION TO COMPEL ARBITRATION
            v.                                      OF FIVE NEWLY-NAMED PARTIES
18
     INDYZEN, INC., a California corporation, and
19   PRAVEEN NARRA KUMAR, an individual,            Date:    December __, 2017
20                    Defendants.                   Time:    N/A
                                                    Dept.:   N/A
21                                                  Judge:   Hon. Kandis A. Westmore

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        Case 4:16-cv-07387-JSW Document 33-2 Filed 12/19/17 Page 2 of 2



           IT IS HEREBY ORDERED THAT Plaintiffs’ request the Court extend the deadline to
 1
 2 respond to Defendants’ Motion to Compel Arbitration of Five Newly-Named Parties until at least
 3 January 18, 2018 is granted.
 4          IT IS SO ORDERED.
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 6
     DATED:
 7
                                                      Hon. Kandis A. Westmore
 8
                                                      United States Magistrate Judge
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